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IN THE UNITED sTATEs DIsTRIcT coURT FILED @y -
ron THE wESTERN DISTRICT oF TENNEssEE '" ~“-QC.
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UNITED sTATEs oF AMERICA, §§§H§TJLC§£§QUQ
. .o#?N,MEM@g§
Plaintiff,
vs. No. 05~20010-B

ALBERT KIN LEE,

Defendant.

 

ORDER WAIVING APPEARANCE

 

Upon motion of the defendant, consent of the United States,
Mr. Lee’s written waiver, and for good cause shown, it is hereby:

ORDERED, ADJUDGED AND DECREED that Albert Kin Lee's appearance
at the June 23, 2005 report date is hereby waived.

Entered this 26?` day of June, 20 5.

 

J. aniel Breen, \
Uni ed States District Judqe

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:05-CR-200]0 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

